       Case: 1:22-cv-00061-DAP Doc #: 52 Filed: 03/22/24 1 of 4. PageID #: 1218




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


Adam Fried, Administrator of the                )   Case No. 1:22-CV-00061
Estate of Desmond Franklin,                     )
                                                )   Judge Dan Aaron Polster
                              Plaintiff,        )
                                                )   DEFENDANT JOSE GARCIA’S BRIEF
                vs.                             )   CONFIRMING HE ACTED UNDER
                                                )   “COLOR OF LAW”
Jose Garcia,                                    )
                                                )
                              Defendant.        )


I.      INTRODUCTION

        This case arises from an incident where off-duty police officer, Jose Garcia, shot

Desmond Franklin.

        On January 31, 2024, Defendant Jose Garcia filed a motion for summary judgment

arguing alternative positions that (1) Officer Garcia was acting under color of law at the time of

the shooting in this case and, therefore, was entitled to immunity as a matter of law, and/or (2)

even if Officer Garcia was not acting under color of law, he was entitled to summary judgment

for a number of reasons including that he acted in self-defense. [Doc# 44], PageID# 256, 264,

268.

        On March 1, 2024, Plaintiff filed an opposition to Garcia’s summary judgment in which

Plaintiff argues that Garcia was acting under color of law when he shot Franklin. [Doc# 47],

PageID# 1009.

        On March 15, 2024, this Court ordered Defendant Garcia to file a brief “either accepting

Plaintiff’s position that Defendant Garcia was acting under color of law when he shot Desmond
      Case: 1:22-cv-00061-DAP Doc #: 52 Filed: 03/22/24 2 of 4. PageID #: 1219




Franklin,…” or, alternatively, explaining why Garcia was acting as a private citizen. [Doc# 49],

PagID# 1212-1213. In short, the Court’s order forces Defendant Garcia to specify his position

on whether he was acting under color of law.

       In compliance with the Court’s order, and for the reasons set forth below, Defendant

Garcia states he was acting under color of law when he shot Desmond Franklin.

II.    DEFENDANT GARCIA WAS ACTING UNDER COLOR OF LAW
       WHEN HE SHOT DESMOND FRANKLIN

       Federal law has long held that police officers undertaking their official duties are within

the purview of the civil rights statute. Stengel v. Belcher, 522 F.2d 438, headnotes 2-4., (6th Cir.

1975). The fact that a police officer is off or on duty, or in or out of uniform, is not controlling to

determine whether an officer was acting under color of law. Id. Rather, it is the nature of the act

performed which determines whether the officer acted under color of law for civil rights

purposes. Id.; See also Kalvitz v. City of Cleveland, 763 F. App'x 490, 496 (6th Cir. 2019) (fact

issue as to whether off-duty officers dressed in civilian clothing were acting under color of state

law while wearing their badges and carrying department-issued handguns); Parker v. City of

Detroit, No. 16-13036, 2018 WL 2717500, at *2 (E.D. Mich. June 5, 2018) (off-duty officer was

acting under color of law because (1) he used his service weapon, (2) he used his service weapon

to defend a fellow police officer, and (3) he wrote a report about the incident as required by

departmental rules); Dekany v. City of Akron, Ohio, No. 5:16CV01829, 2019 WL 2949844, at *2

(N.D. Ohio July 9, 2019) (off-duty police officer acted under color of law, in part, because he

threatened to shoot plaintiff “presumably with his department-issued gun”); Memphis, Tennessee

Area Loc., Am. Postal Workers Union, AFL-CIO v. City of Memphis, 86 F. App'x 137, 141 (6th

Cir. 2004) (“…manifestations of official authority include flashing a badge, identifying oneself

as a police officer, placing an individual under arrest, or intervening in a dispute between third



                                                  2
     Case: 1:22-cv-00061-DAP Doc #: 52 Filed: 03/22/24 3 of 4. PageID #: 1220




parties pursuant to a duty imposed by police department regulations”); Reilly v. Hamblen Cnty.,

Tenn., No. 2:07-CV-283, 2008 WL 4138117, at *3-4 (E.D. Tenn. Sept. 4, 2008) (holding that

just one of the various “manifestations of official authority” enumerated in Memphis is sufficient

to establish that an off-duty officer acted under color of state law).

       In this case, Garcia transitioned to a police officer and acted under the color of law the

moment he saw Franklin brandish his gun inside the Ford. As Garcia testified, he was trained to

intervene if he observed a violent crime, so long as it was safe to do so. (Garcia depo., p. 88,

PageID# 456.) Cleveland police officers are considered to be on duty at all times for purposes of

discipline. (See Decl. of Ashley Graham, Ex. A, and Manual of Rules attached thereto, p. 14,

Rule 4.12.) Officers are required to act immediately in every instance that comes to their

attention where police assistance is required. (Manual of Rules, p. 14, Rule 4.11.) Brandishing

or pointing a gun at someone from a vehicle is a violent crime, which would require immediate

police intervention. See e.g. R.C. 2923.16 (Improperly handling a firearm in a motor vehicle),

R.C. 2903.21 (Aggravated menacing). Therefore, Garcia as an officer had not only the right - but

arguably the duty to intervene, even if that intervention was in self-defense. Garcia continued to

act as a police officer upon emerging from his vehicle he identified himself as a police officer

and directed Badley to stay away from the car and to get on the ground. (Garcia depo., p. 175,

PageID# 543.)

       Additionally, Garcia was carrying his city-issued weapon and police badge at the time of

the shooting. (Id., pp. 56-58, PageID#424-426.) Unlike civilians, Garcia always carried his city-

issued police badge and his gun with him when he was off duty. (Id. at p. 61, PageID#429.) His

ability to do so was accorded by his status as a Cleveland police officer. As a duly sworn police

officer, Garcia was deemed to have a license to carry a concealed weapon, including transporting




                                                  3
     Case: 1:22-cv-00061-DAP Doc #: 52 Filed: 03/22/24 4 of 4. PageID #: 1221




it concealed in his automobile. R.C. 2923.12(C)(1)(A), 2923.16(F)(1). That privilege is not

available to all civilians, who, at the time of the incident, had to obtain a concealed carry permit

and undergo a thorough background check to be able to conceal-carry on their person or inside

their vehicle. R.C. 2923.12, 2923.16.

       Since (1) Garcia only carried a gun in case he needed to take action as a police officer,

(2) Cleveland police officers, like Garcia, are/were required to act immediately when an illegal

act comes to their attention, and (3) the brandishing a gun at someone from a vehicle is a violent

crime requiring Garcia’s immediate response, Defendant Garcia was clearly acting as a police

officer (i.e. under color of law) when he drew his weapon and discharged it on the night in

question.




                                              Respectfully submitted,

                                              /s/ Kenneth A. Calderone
                                              Kenneth A. Calderone (0046860)
                                              Hanna, Campbell & Powell, LLP
                                              3737 Embassy Parkway, Suite 100
                                              Akron, OH 44333
                                              Telephone: (330) 670-7324
                                              Facsimile: (330) 670-7440
                                              Email: kcalderone@hcplaw.net


                                              /s/ Thomas J. Cabral
                                              Thomas J. Cabral (0033041)
                                              Gallagher Sharp, LLP
                                              121 Superior Avenue, 7th Floor
                                              Cleveland, OH 44114
                                              Telephone: (216) 522-1172
                                              Facsimile: (216) 241-1608
                                              Email: tcabral@gallaghersharp.com

                                              Attorneys for Defendant




                                                 4
